




NO. 07-07-0458-CR



IN THE COURT OF APPEALS



FOR THE SEVENTH DISTRICT OF TEXAS



AT AMARILLO



PANEL D



DECEMBER 10, 2007



______________________________





JOHNNY R. SATCHELL,



Appellant



v.



THE STATE OF TEXAS, 



Appellee





_________________________________



FROM THE 364
TH
 DISTRICT COURT OF LUBBOCK COUNTY;



NO. 2006-413,383; HON. BRADLEY S. UNDERWOOD, PRESIDING



_______________________________



Abatement and Remand



________________________________



Before QUINN, C.J., and CAMPBELL and PIRTLE, JJ.

Johnny R. Satchell (appellant) filed a notice of appeal from his conviction for seven counts of aggravated sexual assault on November 6, 2007. &nbsp;On October 15, 2007, the trial court filed its certification representing that appellant has the right to appeal all seven counts. &nbsp;However, the appellate record reflects that appellant failed to sign the certifications pursuant to Texas Rule of Appellate Procedure 25.2(d) which requires the certification to be signed by appellant and a copy served on him. &nbsp;&nbsp;

Consequently, we abate the appeal and remand the cause to the 47
th
 
District Court of Randall County (trial court) for further proceedings. &nbsp;Upon remand, the trial court shall immediately cause notice of a hearing to be given and, thereafter, conduct a hearing to determine the following:


whether appellant desires to prosecute the appeal; and




2. &nbsp;	if appellant desires to prosecute the appeal, to obtain his signature on an amended trial court’s certification.



We further direct the trial court to issue findings of fact and conclusions of law addressing the foregoing subjects. &nbsp;Furthermore, the trial court shall also cause to be developed 1) a supplemental clerk’s record containing the amended trial court certification, if any, and 2) a reporter’s record transcribing the evidence and argument presented at the aforementioned hearing. &nbsp;Additionally, the trial court shall cause the supplemental clerk’s record to be filed with the clerk of this court on or before January 9, 2008. &nbsp;Should additional time be needed to perform these tasks, the trial court may request same on or before January 9, 2008.

It is so ordered.

Per Curiam

Do not publish.
	


